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                           IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION


 JENNIFER HOPKINS, individually and on            Case No.
 behalf of all others similarly situated,
                                                  CLASS ACTION ALLEGATIONS
                       Plaintiff,                 COMPLAINT

 v.                                               JURY TRIAL DEMANDED

 TRILLIUM COMMUNITY HEALTH
 PLAN, INC., PROGRESS SOFTWARE
 CORPORATION, and PERFORMANCE
 HEALTH TECHNOLOGY, LTD.,

                  Defendants.


       Plaintiff Jennifer Hopkins (“Plaintiff”) brings this action against Trillium Community

Health Plan, Inc. (“Trillium CHP”), Progress Software Corporation (“PSC”), and Performance

Health Technology, Ltd. (“PH Tech”) (collectively, “Defendants”), individually and on behalf of

all others similarly situated (“Class Members”), and alleges upon personal knowledge as to her

own actions and her counsel’s investigations, and upon information and belief as to all other

matters, as follows:

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                                     NATURE OF THE ACTION

       1.       Plaintiff brings this class action against Defendants for their failure to properly

secure and safeguard personally identifiable information (“PII” or “Private Information”)

including, but not limited to, Plaintiff’s and Class Members’ names, dates of birth, social security

numbers, demographic information, addresses, member and plan ID numbers, email addresses,

authorization information, diagnosis and procedure codes, and claim and billing information.

       2.       Oregon Health Plan (“OHP”) “provides health care coverage for low-income

Oregonians.”1 “The State of Oregon and the US Government’s Medicaid program pay for it. It

covers different groups of services, called benefit packages.” 2

       3.       Defendant Trillium CHP “is a Coordinated Care Organization (CCO) and

recognized leader for innovative approaches and outstanding coordination of community-based

healthcare.”3 Defendant Trillium CHP “provides Oregon Health Plan (Medicaid) benefits for

residents of Lane County, parts of Linn County and the Reedsport community of Douglas County.

Starting 9/1/2020, members in Washington, Multnomah and Clackamas counties can choose

Trillium as their CCO.”4

       4.       Defendant PSC is a Massachusetts-based software company that offers a wide

range of software products and services to corporate and governmental entities throughout the

United States and the world, including cloud hosting and secure file transfer services such as

MOVEit.




   1
     https://www.oregon.gov/oha/hsd/ohp/pages/about-us.aspx (last visited Aug. 15, 2023).
   2
     https://www.trilliumohp.com/members/oregon-health-plan.html (last visited Aug. 16, 2023).
   3
     https://www.trilliumohp.com/about-us/trillium-background.html (last visited Aug. 16, 2023).
   4
     Id.

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          5.       Defendant PH Tech is an Oregon-based company that provides services to

community-based health plans to help them manage and operate their plans as well as administer

benefits. PH Tech uses Defendant PSC’s MOVEit file transfer services for this purpose.

          6.       Defendant PH Tech possessed and controlled Plaintiff’s PII because, upon

information and belief, PH Tech processes information for OHP in connection with health

insurance.

          7.       On July 27, 2023, Plaintiff received a letter from PH Tech stating, “We are writing

to inform you of a recent incident that affected the security of your personal information, which is

managed with PH Tech in coordination with Capitol Dental Care on behalf of Trillium Community

Health Plan. As part of our collaboration with your health plan, we use a third-party software file

transfer application called Progress MOVEit to support your continuous health care management.

A security flaw within this application recently allowed unauthorized access to your personal

information.”5

          8.       The letter further stated, “On May 30, 2023, a security flaw within Progress

MOVEit’s file transfer software application allowed attackers access to your personal information

stored on a PH TECH server. PH TECH discovered the attack June 2, 2023, and took immediate

action to take systems offline to prevent further intrusion. We found that the attack was a breach

of personal information we received from your plan on June 16, 2023 and we notified your plan

the same day.”6

          9.       According to the letter, this data breach (the “Data Breach”) involved at least the

following types of information: first and last name, date of birth, social security number,




   5
       Data Breach Notice Letter, attached as Exhibit 1.
   6
       Id.

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demographic information (address), member and plan ID number, email address, authorization

information, diagnosis and procedure codes, claim and billing information. 7

             10.   During their business operations, Defendants acquired, collected, utilized, and

derived a benefit from Plaintiff’s and Class Members’ Private Information. Therefore, Defendants

owed and otherwise assumed statutory, regulatory, contractual, and common law duties and

obligations, including to keep Plaintiff’s and Class Members’ Private Information confidential,

safe, secure, and protected from the type of unauthorized access, disclosure, and theft that occurred

in the Data Breach described below.

             11.   Despite its duties to Plaintiff and Class Members related to and arising from its

cloud hosting and secure file transfer services and applications involving MOVEit, PSC stored,

maintained, and/or hosted Plaintiff’s and Class Members’ Private Information on its MOVEit

transfer services software that was negligently and/or recklessly configured and maintained so as

to contain security vulnerabilities that resulted in multiple breaches of its network and systems or

of its customers’ networks and systems, including PH Tech. These security vulnerabilities existed

as far back as 2021. As a result of the breach, unauthorized third-party cybercriminals gained

access to and obtained Plaintiff’s and Class Members’ PII.

             12.   Plaintiff brings this class action lawsuit on behalf of herself and those similarly

situated to address Defendants’ inadequate safeguarding of Class Members’ Private Information

that they collected and maintained.

             13.   Upon information and belief, Defendants maintained the Private Information of

millions of individuals in a negligent manner. In particular, the Private Information was maintained

on computer systems and networks that utilized MOVEit, which contained security vulnerabilities.



   7
       Id.

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These security vulnerabilities led to dozens of cyberattacks, including the cyberattack of PH Tech

that resulted in the theft of Plaintiff’s PII.

        14.     Upon information and belief, PH Tech negligently chose to utilize PSC’s MOVEit

software to store and transfer Plaintiff’s and Class Members’ PII despite the fact that MOVEit

contained security vulnerabilities.

        15.     Upon information and belief, the mechanism of the Data Breach and potential for

improper disclosure of Plaintiff’s and Class Members’ Private Information was a known risk to

Defendants because other file transfer programs had previously been subjected to criminal

hacking, and thus Defendants were on notice that failing to take appropriate design and protective

measures would expose and increase the risk that the Private Information could be compromised

and stolen.

        16.     The cyberattack at issue was carried out by the well-known Russian cybergang,

Clop.

        17.     Hackers such as Clop can and do offer for sale unencrypted, unredacted Private

Information to criminals. The exposed Private Information of Plaintiff and Class Members can,

and likely will, be sold repeatedly on the dark web.

        18.     Plaintiff and Class Members now face a current and ongoing risk of identity theft,

which is heightened here by the loss of Social Security numbers – the gold prize for identity

thieves.

        19.     Upon information and belief, this Private Information was compromised due to

Defendants’ negligent and/or careless acts and omissions and the failure to protect the Private

Information of Plaintiff and Class Members.




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       20.     When PSC’s customers use MOVEit Transfer application, they entrust PSC with

confidential files, including Plaintiff’s and Class Members’ Private Information, and PSC accepts

responsibility for securely maintaining and protecting such Private Information.

       21.     When PH Tech’s customers use their services, they entrust PH Tech with their

confidential files, including Plaintiff and Class Members’ Private Information, and PH Tech

accepts responsibility for securely maintaining and protecting such Private Information.

       22.     Defendants have not made any assurances that they have adequately enhanced their

data security practices to sufficiently safeguard from a similar vulnerability in the MOVEit

Transfer Application in the future.

       23.     While many details of the Data Breach remain in the exclusive control of

Defendants, upon information and belief, Defendants breached their duties and obligations by

failing, in one or more of the following ways: (i) failing to design, implement, monitor, and

maintain reasonable software and/or network safeguards against foreseeable threats; (ii) failing to

design, implement, and maintain reasonable data retention policies; (iii) failing to adequately

investigate, assess, and select third party service providers to whom Plaintiff’s and Class Members’

PII was provided; (iv) failing to adequately train staff on data security; (v) failing to comply with

industry-standard data security practices; (vi) failing to warn Plaintiff and Class Members of

Defendants’ inadequate data security practices; (vii) failing to encrypt or adequately encrypt the

Private Information; and (viii) otherwise failing to secure the software and hardware using

reasonable and effective data security procedures free of foreseeable vulnerabilities and data

security incidents.

       24.     As a result of Defendants’ unreasonable and inadequate data security practices that

resulted in the Data Breach, Plaintiff and Class Members are at a current and ongoing risk of



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identity theft and have suffered numerous actual and concrete injuries and damages, including: (i)

invasion of privacy; (ii) financial “out-of-pocket” costs incurred mitigating the materialized risk

and imminent threat of identity theft; (iii) loss of time and loss of productivity incurred mitigating

the materialized risk and imminent threat of identity theft risk; (iv) financial “out-of-pocket” costs

incurred due to actual identity theft; (v) loss of time incurred due to actual identity theft; (vi) loss

of time due to increased spam and targeted marketing emails; (vii) diminution of value of their

Private Information; (viii) anxiety, annoyance, and nuisance; and (ix) the continued risk to their

Private Information, which remains in the control of Defendants, and which is subject to further

breaches, as long as Defendants fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

        25.     Plaintiff seeks to remedy these harms on behalf of herself and all similarly situated

individuals whose Private Information was accessed during the Data Breach. Plaintiff seeks

remedies including, but not limited to, compensatory damages, reimbursement of out-of-pocket

costs, future costs of identity theft monitoring, injunctive relief including improvements to

Defendants’ data security systems, and future annual audits.

        26.     Accordingly, Plaintiff brings this action against Defendants seeking redress for

their unlawful conduct and asserting claims for: (i) negligence; (ii) breach of implied contract; (iii)

breach of third-party beneficiary contract against PSC; (iv) breach of third-party beneficiary

contract against PH Tech; (v) negligence per se; (vi) unjust enrichment; and (vi) declaratory

judgment.

                                              PARTIES

        27.     Plaintiff Jennifer Hopkins is, and at all times mentioned herein was, an individual

citizen of the State of Oregon.



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        28.      Defendant PSC is a for profit corporation organized under the laws of the State of

Delaware with its principal place of business located at 15 Wayside Road, Suite 4, Burlington,

Massachusetts 01803. Service of process is proper on Corporation Service Company as agent

located at 84 State Street, Boston, Massachusetts 02109.

        29.      Defendant PH Tech is a for profit corporation organized under the laws of the State

of Oregon with its principal place of business located at 3993 Fairview Industrial Drive SE, Salem,

Oregon, 97302. Service of process is proper on CT Corporation System as agent located at 780

Commercial Street SE, Suite 100, Salem, Oregon 97301.

        30.      Defendant Trillium CHP is a for profit corporation organized under the laws of the

State of Oregon with its principal place of business located at 555 International Way, Springfield,

Oregon 97477. Service of process is proper on CT Corporation System as agent located at 780

Commercial Street SE, Suite 100, Salem, Oregon 97301.

                                  JURISDICTION AND VENUE

        31.      This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of class members exceeds 100, many of whom, including Plaintiff,

have different citizenship from Defendants. Thus, minimal diversity exists under 28 U.S.C. §

1332(d)(2)(A).

        32.      This Court has personal jurisdiction over Defendants because they all conduct

substantial business in this jurisdiction and because Plaintiff’s claims arise out of or relate to

Defendants’ contacts with, and conduct within, this District. Further, this Court has general

jurisdiction over Defendants PH Tech and Trillium CHP because their corporate headquarters are

located in this District.



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              33.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District. Moreover,

Defendants PH Tech and Trillium CHP are based in this District, Defendant PSC interacted with

Defendants PH Tech and Trillium CHP in this District, including Defendant PH Tech’s use of the

MOVEit transfer application for benefit of Defendant Trillium CHP, and the harm caused to

Plaintiff and Class Members emanated from this District.

                                       FACTUAL ALLEGATIONS

PSC’s Business

              34.   PSC, which is based in Burlington, Massachusetts, is a software company that

offers a wide range of products and services to government agencies and corporate entities across

the United States and around the world, including MOVEit.

              35.   MOVEit is a “[m]anaged File Transfer and automation software that guarantees the

security of sensitive files both at-rest and in-transit, ensures reliable business processes and

addresses data security compliance requirements. 8

              36.   As a condition of receiving secure file transfer services, PSC requires that its

government and corporate customers entrust it and its MOVEit transfer software application with

highly sensitive Private Information belonging to Plaintiff and Class Members.

              37.   Because of the highly sensitive nature of the Private Information that PSC acquires,

maintains, and transfers, PSC “guarantees the security of sensitive files,” 9 and promises, among

other things, to: keep customers’ files private; comply with industry standards related to data

security and maintenance of its customers’ files and the Private Information contained therein;


    8
      Progress Brochure, available at https://d117h1jjiq768j.cloudfront.net/docs/default-source/default-document-
library/progress-corporate-brochure-2023-rgb.pdf?sfvrsn=a0b1f671_3 (last visited June 22, 2023).
    9
        Id.

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only disclose the sensitive information for business purposes and reasons related to the services it

provides; and provide adequate notice to individuals if their Private Information is disclosed

without authorization.

           38.      By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, PSC assumed legal and equitable duties and knew or should have

known that it was responsible for ensuring the security of Plaintiff’s and Class Members’ Private

Information to protect it from unauthorized disclosure and exfiltration.

           39.      Plaintiff and Class Members relied on PSC to keep their Private Information

confidential and securely maintained and to only make authorized disclosures of this information,

which PSC failed to do.

PH Tech’s Business

           40.      PH Tech, which is based in Salem, Oregon, is a company that provides services to

“health care plans, helping with a variety of things like customer service, enrollment, and payment

services.”10 PH Tech uses Defendant PSC’s MOVEit file transfer services for this purpose,

including the transfer of individuals’ PII. 11

           41.      As a condition of performing its search services, PH Tech requires that its

government and corporate customers entrust it with highly sensitive Private Information belonging

to Plaintiff and Class Members.

           42.      By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, PH Tech assumed legal and equitable duties and knew or should

have known that it was responsible for ensuring the security of Plaintiff’s and Class Members’

Private Information to protect it from unauthorized disclosure and exfiltration.


    10
         https://phtech.com/notification_faq.html (last visited Aug. 15, 2023)
    11
         Id.

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          43.      Plaintiff and Class Members relied on PH Tech to keep their Private Information

confidential and securely maintained and to only make authorized disclosures of this information,

which PH Tech failed to do.

Trillium CHP’s Business

          44.      Trillium CHP “is a Coordinated Care Organization (CCO) and recognized leader

for innovative approaches and outstanding coordination of community-based healthcare.” 12

Trilliums “partner[s] with an extensive group of physical, behavioral and oral healthcare providers

on behalf of Oregon Health Plan members in Lane and Western Douglas County.” 13

          45.      Trillium provided Plaintiff’s and Class Members’ PII to Defendants PH Tech and

PSC.

          46.      Trillium, at the very least, negligently assessed and managed the cybersecurity risk

posed by its third party service providers including Defendants PH Tech and PSC.

The Data Breach

          47.      On May 31, 2023, PSC reported a vulnerability in MOVEit Transfer and MOVEit

Cloud (CVE-2023-34362) that could lead to escalated privileges and potential unauthorized access

to the environment. Progress purportedly launched an investigation, alerted MOVEit customers of

the issue and provided mitigation steps.14

          48.      PSC applied additional patches on June 9 and June 16 to purportedly address other

vulnerabilities that were discovered. 15




   12
        https://www.trilliumohp.com/about-us/trillium-background.html (last visited Aug. 16, 2023).
   13
        Id.
   14
        https://www.progress.com/security/moveit-transfer-and-moveit-cloud-vulnerability
   15
        Id.

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           49.     The Russian cyber gang Clop took responsibility for the attack—which began on

May 27, 2023—and began attempts to ransom and exploit data accessed from MOVEit. 16

           50.     PH Tech was one of the companies whose data was accessed and stolen by Clop,

which included PII of millions of individuals, including Plaintiff and Class Members.

           51.     PH Tech began informing its clients of the Data Breach on or around July 31,

2023.17

           52.     PH Tech’s clients also publicly acknowledged that PII of millions of individuals

had been accessed in the Data Breach. 18

           53.     Defendants negligently maintained Plaintiff’s and Class Members’ Private

Information, which allowed unauthorized cybercriminals to access and exfiltrate the Private

Information through the Data Breach, including, but not limited to, Plaintiff’s and Class Members’

names, dates of birth, social security numbers, demographic information (address), member and

plan ID numbers, email addresses, authorization information, diagnosis and procedure codes,

claim and billing information.

           54.     Defendants had obligations created by contract, industry standards, common law,

and representations made to Plaintiff and Class Members to keep Plaintiff and Class Members’

Private Information confidential and to protect them from unauthorized access and disclosure.

           55.     Plaintiff and Class Members permitted their Private Information to be provided to

Defendants with the reasonable expectation and understanding that Defendants would comply with




    16
      https://www.bleepingcomputer.com/news/security/clop-ransomware-gang-starts-extorting-moveit-data-theft-
victims/
    17
         https://content.govdelivery.com/accounts/ORDHS/bulletins/3689be7
    18
         Id.

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its obligations to keep said Private Information confidential and secure from unauthorized access

and timely notify Class Members of any security breaches.

            56.   Defendants’ data security obligations were particularly important given the

substantial increase in cyberattacks in recent years, including recent similar attacks against secure

file transfer companies such as Accellion and Fortra by the same Russian cyber gang, Clop. 19

            57.   Therefore, because of the type of data and Private Information maintained,

Defendants knew or should have known that their systems and the records would be targeted by

cybercriminals.

Plaintiff Jennifer Hopkins’ Experience

            58.   Plaintiff is very careful about sharing her sensitive Private Information. Plaintiff

has never knowingly transmitted unencrypted sensitive Private Information over the internet or

any other unsecured source.

            59.   Plaintiff stores any documents containing her sensitive Private Information in a safe

and secure location or destroys such documents. Moreover, Plaintiff diligently chooses unique

usernames and passwords for her various online accounts in an effort to safeguard and protect her

PII.

            60.   As a result of the Data Breach, Plaintiff has and will continue to spend time trying

to mitigate the consequences of the Data Breach. This includes time spent verifying the legitimacy

of communications related to the Data Breach, and self-monitoring her accounts and credit reports




       19
       See Bill Toulas, Fortra Shares Findings on GoAnywher MFT Zero-Day Attacks, BleepingComputer (Apr. 19,
2023), https://www.bleepingcomputer.com/news/security/fortra-shares-findings-on-goanywhere-mft-zero-day-
attacks/; see also Ionut Ilascu, Global Accellion Data Breaches Linked to Clop Ransomware Gang,
BleepingComputer (Feb. 22, 2021), https://www.bleepingcomputer.com/news/security/global-accellion-data-
breaches-linked-to-clop-ransomware-gang/.

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to ensure no fraudulent activity has occurred. This time has been lost forever and cannot be

recaptured.

       61.     The harm caused to Plaintiff cannot be undone.

       62.     Plaintiff further suffered actual injury in the form of damages to and diminution in

the value of her Private Information—a form of intangible property that Plaintiff entrusted to

Defendants, which was compromised in and as a result of the Data Breach.

       63.     Plaintiff suffered lost time, annoyance, interference, and inconvenience because of

the Data Breach and has anxiety and increased concerns for the loss of her privacy.

       64.     Plaintiff has suffered imminent and impending injury arising from the present and

ongoing risk of fraud, identity theft, and misuse resulting from her Private Information being

placed in the hands of cybercriminals.

       65.     Future identity theft monitoring is reasonable and necessary and such services will

include future costs and expenses.

       66.     Plaintiff has a continuing interest in ensuring that her Private Information, which,

upon information and belief, remains in Defendants’ control, is protected, and safeguarded from

future breaches.

The Data Breach Was Foreseeable

       67.     At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and the foreseeable

consequences that would occur if Defendants’ data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members because

of a breach.




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         68.     Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on their network, amounting to potentially millions of individuals’

detailed, personal information and, thus, the significant number of individuals who would be

harmed by the exposure of the unencrypted data.

         69.     As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.” 20

         70.     Defendants’ data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches preceding the date of the breach.

         71.     In 2022, 1,774 data breaches occurred, affecting approximately 392,000,000

victims.21

         72.     In light of the recent high profile cybersecurity incidents at other file transfer and

storage companies, including Accellion and Fortra, Defendants knew or should have known that

its electronic records would be targeted by cybercriminals.

         73.     Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets so they

are aware of, and prepared for, a potential attack. 22

         74.     Therefore, the increase in such attacks, and the attendant risk of future attacks, were

widely known to the public and to anyone in Defendants’ industry, including Defendants.




    20
       See How to Protect Your Networks from RANSOMWARE, at 3, available at https://www.fbi.gov/file-
repository/ransomware-prevention-and-response-for-cisos.pdf/view (last accessed June 22, 2023).
    21
      See 2022 Data Breach Annual Report, available at https://www.idtheftcenter.org/publication/2022-data-
breach-report/
     22
        FBI, Secret Service Warn of Targeted, Law360 (Nov.18,2019),
https://www.law360.com/articles/1220974/fbisecret-service-warn-of-targeted-ransomware.

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Value of PII

         75.      Individuals’ PII remains of high value to criminals, as evidenced by the prices

offered through the dark web. Numerous sources cite dark web pricing for stolen identity

credentials. For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200.23 According to the Dark Web Price Index for

2021, payment card details for an account balance up to $1,000 have an average market value of

$150, credit card details with an account balance up to $5,000 have an average market value of

$240, stolen online banking logins with a minimum of $100 on the account have an average market

value of $40, and stolen online banking logins with a minimum of $2,000 on the account have an

average market value of $120.24 Criminals can also purchase access to entire company data

breaches from $900 to $4,500.25

         76.      Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts.

         77.      This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information…[is] worth more than 10x on the black market.” 26




    23
        Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct. 16, 2019,
available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/.
(last accessed June 22, 2023).
    24
        Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at:
https://www.privacyaffairs.com/dark-web-price-index-2021/ (last accessed June. 22, 2023).
    25
       In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-browsing/in-
the-dark/.
    26
       Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT
World, (Feb. 6, 2015), available at: https://www.networkworld.com/article/2880366/anthem-hack-personal-data-
stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last accessed June. 22, 2023).

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         78.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         79.     The fraudulent activity resulting from the Data Breach may not come to light for

years.

         80.     There is also a robust legitimate market for the type of sensitive information at issue

here. Marketing firms utilize personal information to target potential customers, and an entire

economy exists related to the value of personal data.

         81.     Moreover, there may be a time lag between when harm occurs versus when it is

discovered and also between when PII is stolen and when it is used. According to the U.S.

Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm. 27

         82.     As such, future monitoring of financial and personal records is reasonable and

necessary.

Defendants Failed to Properly Protect Plaintiff’s and Class Members’ Private Information

         83.     Defendants could have prevented this Data Breach by properly testing, monitoring,

auditing, securing and encrypting the systems containing the Private Information of Plaintiff and

Class Members.




    27
       Report to Congressional Requesters, GAO, at 29 (June 2007), available at: https://www.gao.gov/assets/gao-
07-737.pdf (last accessed June 22, 2023).

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         84.     Defendants’ negligence in not safeguarding the PII of Plaintiff and Class Members

is exacerbated by the repeated warnings and alerts directed to companies like Defendants to protect

and secure sensitive data they maintain.

         85.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendants failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

         86.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 28

         87.     The ramifications of Defendants’ failure to keep secure the PII of Plaintiff and Class

Members are long lasting and severe. Once PII is stolen, fraudulent use of that information and

damage to victims may continue for years.

         88.     To prevent and detect unauthorized cyber-attacks, Defendants could and should

have implemented, as recommended by the United States Government, the following measures:

                          Implement an awareness and training program. Because end users are
                           targets, employees and individuals should be aware of the threat of
                           ransomware and how it is delivered.

                          Enable strong spam filters to prevent phishing emails from reaching the
                           end users and authenticate inbound email using technologies like Sender
                           Policy Framework (SPF), Domain Message Authentication Reporting and
    28
        See generally Fighting Identity Theft With the Red Flags Rule: A How-To Guide for Business, FED. TRADE
COMM., https://www.ftc.gov/business-guidance/resources/fighting-identity-theft-red-flags-rule-how-guide-business
(last accessed June 22, 2023).

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                         Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
                         prevent email spoofing.

                        Scan all incoming and outgoing emails to detect threats and filter
                         executable files from reaching end users.

                        Configure firewalls to block access to known malicious IP addresses.

                        Patch operating systems, software, and firmware on devices. Consider
                         using a centralized patch management system.

                        Set anti-virus and anti-malware programs to conduct regular scans
                         automatically.

                        Manage the use of privileged accounts based on the principle of least
                         privilege: no users should be assigned administrative access unless
                         absolutely needed; and those with a need for administrator accounts should
                         only use them when necessary.

                        Configure access controls—including file, directory, and network share
                         permissions—with least privilege in mind. If a user only needs to read
                         specific files, the user should not have write access to those files,
                         directories, or shares.

                        Disable macro scripts from office files transmitted via email. Consider
                         using Office Viewer software to open Microsoft Office files transmitted
                         via email instead of full office suite applications.

                        Implement Software Restriction Policies (SRP) or other controls to prevent
                         programs from executing from common ransomware locations, such as
                         temporary folders supporting popular Internet browsers or
                         compression/decompression          programs,         including         the
                         AppData/LocalAppData folder.

                        Consider disabling Remote Desktop protocol (RDP) if it is not being used.

                        Use application whitelisting, which only allows systems to execute
                         programs known and permitted by security policy.

                        Execute operating system environments or specific programs in a
                         virtualized environment.

                        Categorize data based on organizational value and implement physical and
                         logical separation of networks and data for different organizational units.29


  29
       Id. at 3-4.

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        89.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendants could and should have implemented, as recommended by the United

States Cybersecurity & Infrastructure Security Agency, the following measures:

             Update and patch your computer. Ensure your applications and operating systems
              (OSs) have been updated with the latest patches. Vulnerable applications and OSs are
              the target of most ransomware attacks….

             Use caution with links and when entering website addresses. Be careful when
              clicking directly on links in emails, even if the sender appears to be someone you
              know. Attempt to independently verify website addresses (e.g., contact your
              organization’s helpdesk, search the internet for the sender organization’s website or
              the topic mentioned in the email). Pay attention to the website addresses you click on,
              as well as those you enter yourself. Malicious website addresses often appear almost
              identical to legitimate sites, often using a slight variation in spelling or a different
              domain (e.g., .com instead of .net)….

             Open email attachments with caution. Be wary of opening email attachments, even
              from senders you think you know, particularly when attachments are compressed files
              or ZIP files.

             Keep your personal information safe. Check a website’s security to ensure the
              information you submit is encrypted before you provide it….

             Verify email senders. If you are unsure whether or not an email is legitimate, try to
              verify the email’s legitimacy by contacting the sender directly. Do not click on any
              links in the email. If possible, use a previous (legitimate) email to ensure the contact
              information you have for the sender is authentic before you contact them.

             Inform yourself. Keep yourself informed about recent cybersecurity threats and up
              to date on ransomware techniques. You can find information about known phishing
              attacks on the Anti-Phishing Working Group website. You may also want to sign up
              for CISA product notifications, which will alert you when a new Alert, Analysis
              Report, Bulletin, Current Activity, or Tip has been published.

             Use and maintain preventative software programs. Install antivirus software,
              firewalls, and email filters—and keep them updated—to reduce malicious network
              traffic….30




    30
       See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11, 2019), available
at https://www.cisa.gov/news-events/news/protecting-against-ransomware (last accessed June 23, 2023).

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         90.    To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendants could and should have implemented, as recommended by the Microsoft

Threat Protection Intelligence Team, the following measures:

         Secure internet-facing assets

                         Apply latest security updates
                         Use threat and vulnerability management
                         Perform regular audit; remove privileged credentials

         Thoroughly investigate and remediate alerts

                     Prioritize and treat commodity malware infections as potential full compromise

         Include IT Pros in security discussions

                     Ensure collaboration among [security operations], [security admins], and
                      [information technology] admins to configure servers and other endpoints
                      securely

         Build credential hygiene

                     Use [multifactor authentication] or [network level authentication] and use
                      strong, randomized, just-in-time local admin passwords

         Apply principle of least-privilege

                     Monitor for adversarial activities
                     Hunt for brute force attempts
                     Monitor for cleanup of Event Logs
                     Analyze logon events

         Harden infrastructure

                     Use Windows Defender Firewall
                     Enable tamper protection
                     Enable cloud-delivered protection
                     Turn on attack surface reduction rules and [Antimalware Scan Interface] for
                      Office [Visual Basic for Applications]31


    31
        See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-preventable-disaster/
(last accessed June 22, 2023).

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         91.     Moreover, given that Defendants were maintaining the PII of Plaintiff and Class

Members, Defendants could and should have implemented all the above measures to prevent and

detect cyberattacks.

         92.     The occurrence of the Data Breach indicates that Defendants failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII of Plaintiff and Class Members.

         93.     Because Defendants failed to properly protect and safeguard Plaintiff’s and Class

Members’ Private Information, an unauthorized criminal third party was able to access

Defendants’ network, and access Defendants’ database and system configuration files and

exfiltrate that data.

Defendants Failed to Comply with FTC Guidelines

         94.     The FTC has promulgated numerous guides for businesses which highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision making.

         95.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. The guidelines note that

businesses should protect the personal information that they keep; properly dispose of personal

information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.32




    32
        Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016). Available at
https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business (last accessed
June 22, 2023).



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       96.     The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.

       97.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       98.     Defendants failed to properly implement basic data security practices.

       99.     Defendants’ failure to employ reasonable and appropriate measures to protect

against unauthorized access to Plaintiff’s and Class Members’ Private Information constitutes an

unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       100.    Defendants were always fully aware of its obligation to protect the Private

Information of Plaintiff and Class Members. Defendants were also aware of the significant

repercussions that would result from its failure to do so.

Defendants Failed to Comply with Industry Standards for Data Security

       101.    In light of the numerous high-profile data breaches targeting companies like Target,

Neiman Marcus, eBay, Anthem, Deloitte, Equifax, Marriott, T-Mobile, and Capital One,

Defendants were, or reasonably should have been, aware of the importance of safeguarding PII, as

well as of the foreseeable consequences of its systems being breached.

       102.    Security standards commonly accepted among businesses that store PII using the

internet include, without limitation:



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             a. Maintaining a secure firewall configuration;

             b. Monitoring for suspicious or irregular traffic to servers;

             c. Monitoring for suspicious credentials used to access servers;

             d. Monitoring for suspicious or irregular activity by known users;

             e. Monitoring for suspicious or unknown users;

             f. Monitoring for suspicious or irregular server requests;

             g. Monitoring for server requests for PII;

             h. Monitoring for server requests from VPNs; and

             i. Monitoring for server requests from Tor exit nodes.

          103.   The FTC publishes guides for businesses for cybersecurity 33 and protection of PII34

which includes basic security standards applicable to all types of businesses.

          104.   The FTC recommends that businesses:

             a. Identify all connections to the computers where you store sensitive information.

             b. Assess the vulnerability of each connection to commonly known or reasonably
                foreseeable attacks.

             c. Do not store sensitive consumer data on any computer with an internet connection
                unless it is essential for conducting their business.

             d. Scan computers on their network to identify and profile the operating system and
                open network services. If services are not needed, they should be disabled to
                prevent hacks or other potential security problems. For example, if email service or
                an internet connection is not necessary on a certain computer, a business should
                consider closing the ports to those services on that computer to prevent
                unauthorized access to that machine.



     33
        Start with Security: A Guide for Business, FTC (June 2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf. (last accessed June 23,
2023).
     34
        Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016). Available at
https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business (last accessed
June 22, 2023).

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              e. Pay particular attention to the security of their web applications—the software used
                 to give information to visitors to their websites and to retrieve information from
                 them. Web applications may be particularly vulnerable to a variety of hacker
                 attacks.

              f. Use a firewall to protect their computers from hacker attacks while it is connected
                 to a network, especially the internet.

              g. Determine whether a border firewall should be installed where the business’s
                 network connects to the internet. A border firewall separates the network from the
                 internet and may prevent an attacker from gaining access to a computer on the
                 network where sensitive information is stored. Set access controls—settings that
                 determine which devices and traffic get through the firewall—to allow only trusted
                 devices with a legitimate business need to access the network. Since the protection
                 a firewall provides is only as effective as its access controls, they should be
                 reviewed periodically.

              h. Monitor incoming traffic for signs that someone is trying to hack in. Keep an eye
                 out for activity from new users, multiple log-in attempts from unknown users or
                 computers, and higher-than-average traffic at unusual times of the day.

              i. Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly large
                 amounts of data being transmitted from their system to an unknown user. If large
                 amounts of information are being transmitted from a business’ network, the
                 transmission should be investigated to make sure it is authorized.

        105.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer information, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data as

an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act, 15 U.S.C.

§ 45. Orders resulting from these actions further clarify the measures businesses must take to meet

their data security obligations.35

        106.     Because Defendants were entrusted with PII, they had, and have, a duty to keep the

PII secure.




    35
       Federal Trade Commission, Privacy and Security Enforcement: Press Releases, https://www.ftc.gov/news-
events/media-resources/protecting-consumer-privacy/privacy-security-enforcement.

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       107.    Plaintiff and Class Members reasonably expect that when their PII is provided to a

sophisticated business for a specific purpose, that business will safeguard their PII and use it only

for that purpose.

       108.    Nonetheless, Defendants failed to prevent the Data Breach. Had Defendants

properly maintained and adequately protected its systems, it could have prevented the Data Breach.

       109.    Other best cybersecurity practices that are standard include installing appropriate

malware detection software; monitoring and limiting the network ports; protecting web browsers

and email management systems; setting up network systems such as firewalls, switches and

routers; monitoring and protection of physical security systems; protection against any possible

communication system; and training staff regarding critical points.

       110.    Defendants failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       111.    The foregoing frameworks are existing and applicable industry standards in the

software and data management/transfer industry, and Defendants failed to comply with these

accepted standards, thereby opening the door to and causing the Data Breach.

       112.    Upon information and belief, Defendants failed to comply with one or more of the

foregoing industry standards.




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Defendants’ Negligent Acts and Breaches

       113.    Defendants participated and controlled the process of gathering the Private

Information from Plaintiff and Class Members.

       114.    Defendants therefore assumed and otherwise owed duties and obligations to

Plaintiff and Class Members to take reasonable measures to protect the information, including the

duty of oversight, training, instruction, and testing of the data security policies and network

systems. Defendants breached these obligations to Plaintiff and Class Members and/or were

otherwise negligent because they failed to properly implement data security systems and policies

for their networks that would have adequately safeguarded Plaintiff’s and Class Members’ Private

Information. Upon information and belief, Defendants’ unlawful conduct included, but is not

limited to, one or more of the following acts and/or omissions:

           a. Failing to design and maintain an adequate data security system to reduce the risk
              of data breaches and protect Plaintiff’s and Class Members Private Information;

           b. Failing to properly monitor its data security systems for data security vulnerabilities
              and risk;

           c. Failing to audit, test and assess the adequacy of its data security system;

           d. Failing to develop adequate training programs related to the proper handling of
              emails and email security practices;

           e. Failing to put into develop and place uniform procedures and data security
              protections for its network;

           f. Failing to adequately fund and allocate resources for the adequate design, operation,
              maintenance, and updating necessary to meet industry standards for data security
              protection;

           g. Failing to properly review, assess, and manage the cybersecurity risk posed by
              third party vendors and service providers;

           h. Failing to ensure or otherwise require that it was compliant with FTC guidelines
              for cybersecurity;



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           i. Failing to ensure or otherwise require that it was adhering to one or more of industry
              standards for cybersecurity discussed above;

           j. Failing to implement or update antivirus and malware protection software in need
              of security updating;

           k. Failing to require encryption or adequate encryption on its data systems;

           l. Otherwise negligently and unlawfully failing to safeguard Plaintiff’s and Class
              Members’ Private Information provided to Defendants, which in turn allowed
              cyberthieves to access its IT systems.

                             COMMON INJURIES & DAMAGES

       115.    As result of Defendants’ ineffective and inadequate data security practices, Plaintiff

and Class Members now face a present and ongoing risk of fraud and identity theft.

       116.    Due to the Data Breach, and the foreseeable consequences of Private Information

ending up in the possession of criminals, the risk of identity theft to Plaintiff and Class Members

has materialized and is imminent, and Plaintiff and Class Members have all sustained actual

injuries and damages, including: (i) invasion of privacy; (ii) “out-of-pocket” costs incurred

mitigating the materialized risk and imminent threat of identity theft; (iii) loss of time and loss of

productivity incurred mitigating the materialized risk and imminent threat of identity theft risk;

(iv) “out-of-pocket” costs incurred due to actual identity theft; (v) loss of time incurred due to

actual identity theft; (vi) loss of time due to increased spam and targeted marketing emails; (vii)

diminution of value of their Private Information; and (viii) the continued risk to their Private

Information, which remains in Defendants’ control, and which is subject to further breaches, so

long as Defendants fail to undertake appropriate and adequate measures to protect Plaintiff’s and

Class Members’ Private Information.




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The Risk of Identity Theft to Plaintiff and Class Members Is Present and Ongoing

        117.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

        118.     Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        119.     For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data breaches are

often the starting point for these additional targeted attacks on the victims.

        120.     The dark web is an unindexed layer of the internet that requires special software or

authentication to access.36 Criminals in particular favor the dark web as it offers a degree of

anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, dark web

users need to know the web address of the website they wish to visit in advance. For example, on




    36
       What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-experian/what-is-the-
dark-web/. (last accessed June 22, 2023).

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the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion. 37 This prevents dark web

marketplaces from being easily monitored by authorities or accessed by those not in the know.

           121.    A sophisticated black market exists on the dark web where criminals can buy or

sell malware, firearms, drugs, and frequently, personal information like the PII at issue here. 38 The

digital character of PII stolen in data breaches lends itself to dark web transactions because it is

immediately transmissible over the internet and the buyer and seller can retain their anonymity.

The sale of a firearm or drugs on the other hand requires a physical delivery address. Nefarious

actors can readily purchase usernames and passwords for online streaming services, stolen

financial information and account login credentials, and Social Security numbers, dates of birth,

and medical information.39 As Microsoft warns “[t]he anonymity of the dark web lends itself well

to those who would seek to do financial harm to others.” 40

           122.    Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to numerous serious fraudulent uses and are

difficult for an individual to change. The Social Security Administration stresses that the loss of

an individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

                   A dishonest person who has your Social Security number can use it
                   to get other personal information about you. Identity thieves can use
                   your number and your good credit to apply for more credit in your
                   name. Then, they use the credit cards and don’t pay the bills, it

    37
         Id.
    38
      What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-us/microsoft-365-life-
hacks/privacy-and-safety/what-is-the-dark-web/ (last accessed June 22, 2023).
    39
      Id.; What Is the Dark Web?, Experian, available at https://www.experian.com/blogs/ask-experian/what-is-the-
dark-web/. (last accessed June 22, 2023).
    40
       What is the Dark Web? – Microsoft 365, available at https://www.microsoft.com/en-us/microsoft-365-life-
hacks/privacy-and-safety/what-is-the-dark-web (last accessed June 22, 2023).

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                   damages your credit. You may not find out that someone is using
                   your number until you’re turned down for credit, or you begin to get
                   calls from unknown creditors demanding payment for items you
                   never bought. Someone illegally using your Social Security number
                   and assuming your identity can cause a lot of problems.41

           123.    What’s more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number. 42

           124.    Even then, a new Social Security number may not be effective, as “[t]he credit

bureaus and banks are able to link the new number very quickly to the old number, so all of that

old bad information is quickly inherited into the new Social Security number.” 43

           125.    Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being




    41
        Social Security Administration, Identity Theft and Your Social Security Number, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf. (last accessed June 22, 2023).
    42
         See id.
    43
        Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015),
http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millions-worrying-about-identity-
theft (last visited June 22, 2023).

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issued in the victim’s name. And the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines. 44

           126.     According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims. 45

           127.     Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good.” 46 Defendants did not

rapidly report to Plaintiff and the Class that their Private Information had been stolen.

           128.     Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

           129.     In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims have to spend a considerable time repairing the

damage caused by the theft of their PII. Victims of new account identity theft will likely have to

spend time correcting fraudulent information in their credit reports and continuously monitor their

reports for future inaccuracies, close existing bank/credit accounts, open new ones, and dispute

charges with creditors.

           130.     Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen PII. To protect themselves, Plaintiff and Class




    44
        Identity Theft and Your Social Security Number, Social Security Administration, 1 (2018),
https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited June 22, 2023).
    45
         See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120 (last accessed June 22,
2023).
    46
         Id.

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Members will need to remain vigilant against unauthorized data use for years or even decades to

come.

         131.    The FTC has also recognized that consumer data is a new and valuable form of

currency. In an FTC roundtable presentation, former Commissioner Pamela Jones Harbour stated

that “most consumers cannot begin to comprehend the types and amount of information collected

by businesses, or why their information may be commercially valuable. Data is currency. The

larger the data set, the greater potential for analysis and profit.” 47

         132.    The FTC has also issued numerous guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires: (i)

encrypting information stored on computer networks; (ii) retaining payment card information only

as long as necessary; (iii) properly disposing of personal information that is no longer needed; (iv)

limiting administrative access to business systems; (v) using industry-tested and accepted methods

for securing data; (vi) monitoring activity on networks to uncover unapproved activity; (vii)

verifying that privacy and security features function properly; (viii) testing for common

vulnerabilities; and (ix) updating and patching third-party software. 48

         133.    Defendants’ failure to properly notify Plaintiff and Class Members of the Data

Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their PII and take other necessary steps to mitigate the harm

caused by the Data Breach.




    47
     Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring Privacy
Roundtable), http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last accessed June 22, 2023).
    48
       See generally https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-
business. (last accessed June 22, 2023).

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Loss of Time to Mitigate the Risk of Identify Theft and Fraud

         134.    As a result of the recognized risk of identity theft, when a Data Breach occurs, and

an individual is notified by a company that their Private Information was compromised, the

reasonable person is expected to take steps and spend time to address the dangerous situation, learn

about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of fraud.

Failure to spend time taking steps to review accounts or credit reports could expose the individual

to greater financial harm – yet, the resource and asset of time has been lost.

         135.    Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting

agencies, contacting financial institutions, closing or modifying financial accounts, changing

passwords, reviewing and monitoring credit reports and accounts for unauthorized activity, and

filing police reports, which may take years to discover and detect.

         136.    These mitigation efforts are consistent with the U.S. Government Accountability

Office that released a report in 2007 regarding data breaches (“GAO Report”) in which it noted

that victims of identity theft will face “substantial costs and time to repair the damage to their good

name and credit record.”49

         137.    These mitigation efforts are also consistent with the steps that FTC recommends

that data breach victims take to protect their personal and financial information after a data breach,

including: contacting one of the credit bureaus to place a fraud alert (and consider an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit reports,




    49
      See United States Government Accountability Office, GAO-07-737, Personal Information: Data Breaches
Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is Unknown (June
2007), https://www.gao.gov/new.items/d07737.pdf. (last accessed June 22, 2023).

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contacting companies to remove fraudulent charges from their accounts, placing a credit freeze on

their credit, and correcting their credit reports. 50

           138.     In the event that Plaintiff and Class Members experience actual identity theft and

fraud, the United States Government Accountability Office released a report in 2007 regarding

data breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record.” 51 Indeed, the FTC

recommends that identity theft victims take several steps and spend time to protect their personal

and financial information after a data breach, including contacting one of the credit bureaus to

place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone steals their

identity), reviewing their credit reports, contacting companies to remove fraudulent charges from

their accounts, placing a credit freeze on their credit, and correcting their credit reports. 52

Diminution of Value of the Private Information

           139.     PII is a valuable property right.53 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that Private

Information has considerable market value.




    50
      See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last accessed June
22, 2023).
    51
        See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full
Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last accessed June 22, 2023). (“GAO Report”).
    52
         See https://www.identitytheft.gov/Steps (last accessed June 22, 2023).
    53
       See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable Information
(“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies
obtain at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of traditional
financial assets.”) (citations omitted) (last accessed June 22, 2023).

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           140.     An active and robust legitimate marketplace for Private Information also exists. In

2019, the data brokering industry was worth roughly $200 billion. 54 In fact, the data marketplace

is so sophisticated that consumers can actually sell their non-public information directly to a data

broker who in turn aggregates the information and provides it to marketers or app developers. 55,

Consumers who agree to provide their web browsing history to the Nielsen Corporation can

receive up to $50.00 a year.56

           141.     As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

which has an inherent market value in both legitimate and dark markets, has been damaged and

diminished in its value by its unauthorized and potential release onto the Dark Web, where it is or

may soon be available and holds significant value for the threat actors.

Future Cost of Credit and Identity Theft Monitoring Is Reasonable and Necessary

           142.     To date, Defendants have done little to provide Plaintiff and Class Members with

relief for the damages they have suffered because of the Data Breach despite Plaintiff and Class

Members being at risk of identity theft and fraud for the foreseeable future.

           143.     Given the type of targeted attack in this case and sophisticated criminal activity,

the type of Private Information (e.g. social security numbers), and the modus operandi of

cybercriminals, there is a strong probability that entire batches of stolen information have been

placed, or will be placed, on the black market/dark web for sale and purchase by criminals

intending to utilize the Private Information for identity theft crimes – e.g., opening bank accounts




    54
         https://www.latimes.com/business/story/2019-11-05/column-data-brokers (last accessed June 22, 2023).
    55
         https://datacoup.com/. (last accessed June 22, 2023).
     56
        Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html. (last accessed June 22, 2023).

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in the victims’ names to make purchases or to launder money; file false tax returns; take out loans

or lines of credit; or file false unemployment claims.

         144.    It must be noted there may be a substantial time lag – measured in years – between

when harm occurs versus when it is discovered, and between when Private Information and/or

financial information is stolen and when it is used. According to the U.S. Government

Accountability Office, which conducted a study regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be
         held for up to a year or more before being used to commit identity theft.
         Further, once stolen data have been sold or posted on the Web, fraudulent
         use of that information may continue for years. As a result, studies that
         attempt to measure the harm resulting from data breaches cannot necessarily
         rule out all future harm.

See GAO Report, at 29.

         145.    Such fraud may go undetected until debt collection calls commence months, or even

years, later. An individual may not know that their Social Security Number was used to file for

unemployment benefits until law enforcement notifies the individual’s employer of the suspected

fraud. Fraudulent tax returns are typically discovered only when an individual’s authentic tax

return is rejected.

         146.    Furthermore, the information accessed and disseminated in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach, where victims can easily cancel or close credit and debit card accounts. 57 The information

disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change

(such as Social Security numbers).




    57
       See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report Finds, FORBES
(Mar. 25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-security-number-costs-4-on-
the-dark-web-new-report-finds/?sh=6a44b6d513f1. (last accessed June 22, 2023).

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        147.    Consequently, Plaintiff and Class Members are at a present and ongoing risk of

fraud and identity theft for their entire lives.

        148.    The retail cost of credit monitoring and identity theft monitoring can cost around

$200 a year per Class Member. This is a reasonable and necessary cost to protect Class Members

from the ongoing risk of identity theft that arose from Defendants’ Data Breach, a risk that will

remain long after the 12 months of monitoring offered by PH Tech expires. This is a recurring

future cost that Plaintiff and Class Members would not need to bear but for Defendants’ failure to

safeguard their Private Information.

Injunctive Relief Is Necessary to Protect Against Future Data Breaches

        149.    Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the control of Defendants, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is not

accessible online and that access to such data is password protected.

                                CLASS ACTION ALLEGATIONS

        150.    Plaintiff brings this nationwide class action on behalf of herself and on behalf of

others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

Civil Procedure.

        151.    The Nationwide Class that Plaintiff seeks to represent is defined as follows:

        All persons whose Private Information was accessed or acquired during the Data Breach
        as a result of the exploitation of Progress Software Corporation’s MOVEit Application
        vulnerability (the “Class”).

        With a “PH Tech Subclass” defined as follows:

        All persons whose Private Information was maintained by PH Tech and accessed
        or acquired during the Data Breach as a result of the exploitation of Progress

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       Software Corporation’s MOVEit Application vulnerability (the “PH Tech
       Subclass”).

       With a “Trillium CHP Subclass defined as follows:

       All persons whose Private Information was maintained by Trillium CHP and
       accessed or acquired during the Data Breach as a result of the exploitation of
       Progress Software Corporation’s MOVEit Application vulnerability (the “Trillium
       CHP Subclass”).

       152.    Excluded from the Class are the following individuals and/or entities: Defendants

and Defendants’ parents, subsidiaries, affiliates, officers and directors, and any entity in which any

of the Defendants has a controlling interest; all individuals who make a timely election to be

excluded from this proceeding using the correct protocol for opting out; any and all federal, state

or local governments, including but not limited to their departments, agencies, divisions, bureaus,

boards, sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect

of this litigation, as well as their immediate family members.

       153.    Plaintiff reserves the right to modify or amend the definition of the proposed class

before the Court determines whether certification is appropriate.

       154.    Numerosity, Fed. R. Civ. P. 23(a)(1): Class Members are so numerous that joinder

of all members is impracticable. Upon information and belief, there are millions of individuals

whose Private Information may have been improperly accessed in the Data Breach, and the Class

is readily identifiable within Defendants’ records.

       155.    Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Class exist and predominate over any questions affecting only individual Class

Members. These include:

         a. Whether and to what extent Defendants had a duty to protect the Private Information
            of Plaintiff and Class Members;

         b. Whether Defendants had duties not to disclose the Private Information of Plaintiff
            and Class Members to unauthorized third parties;

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         c. Whether Defendants had duties not to use the Private Information of Plaintiff and
            Class Members for non-business purposes;

         d. Whether Defendants failed to adequately safeguard the Private Information of
            Plaintiff and Class Members;

         e. Whether Defendants failed to properly review, assess, and manage the cybersecurity
            risk posed by third party vendors and service providers;

         f. Whether and when Defendants actually learned of the Data Breach;

         g. Whether Defendants adequately, promptly, and accurately informed Plaintiff and
            Class Members that their PII had been compromised;

         h. Whether Defendants violated the law by failing to promptly notify Plaintiff and Class
            Members that their PII had been compromised;

         i. Whether Defendants failed to implement and maintain reasonable security
            procedures and practices appropriate to the nature and scope of the information
            compromised in the Data Breach;

         j. Whether Defendants adequately addressed and fixed the vulnerabilities which
            permitted the Data Breach to occur;

         k. Whether Defendants engaged in unfair, unlawful, or deceptive practices by failing to
            safeguard the Private Information of Plaintiff and Class Members;

         l. Whether Plaintiff and Class Members are entitled to actual, consequential, and/or
            nominal damages as a result of Defendants’ wrongful conduct;

         m. Whether Plaintiff and Class Members are entitled to restitution as a result of
            Defendants’ wrongful conduct; and

         n. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the
            imminent and currently ongoing harm faced as a result of the Data Breach.

       156.   Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

Class Members because all had their Private Information compromised as a result of the Data

Breach, due to Defendants’ misfeasance.

       157.   Predominance. Defendants have engaged in a common course of conduct toward

Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’ data was maintained

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and unlawfully accessed in the same way. The common issues arising from Defendants’ conduct

affecting Class Members set out above predominate over any individualized issues. Adjudication

of these common issues in a single action has important and desirable advantages of judicial

economy. Defendants’ policies challenged herein apply to and affect Class Members uniformly

and Plaintiff’s challenge of these policies hinges on Defendants’ conduct with respect to the Class

as a whole, not on facts or law applicable only to Plaintiff.

       158.    Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and

adequately represent and protect the interests of the Class Members in that Plaintiff has no

disabling conflicts of interest that would be antagonistic to those of the other Members of the Class.

Plaintiff seeks no relief that is antagonistic or adverse to the Members of the Class and the

infringement of the rights and the damages Plaintiff has suffered are typical of other Class

Members. Plaintiff has also retained counsel experienced in complex class action litigation, and

Plaintiff intends to prosecute this action vigorously.

       159.    Superiority, Fed. R. Civ. P. 23(b)(3): Class litigation is an appropriate method for

fair and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendants. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.



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          160.   The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendants would

necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

limited resources of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be recovered; proof

of a common course of conduct to which Plaintiff was exposed is representative of that experienced

by the Class and will establish the right of each Class Member to recover on the cause of action

alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

and duplicative of this litigation.

          161.   The litigation of the claims brought herein is manageable. Defendants’ uniform

conduct, including their privacy policies, uniform methods of data collection, the consistent

provisions of the relevant laws, and the ascertainable identities of Class Members demonstrates

that there would be no significant manageability problems with prosecuting this lawsuit as a class

action.

          162.   Adequate notice can be given to Class Members directly using information

maintained in Defendants’ records.

          163.   Unless a Class-wide injunction is issued, Defendants may continue in their failure

to properly secure the Private Information of Class Members, Defendants may continue to refuse

to provide proper notification to Class Members regarding the Data Breach, and Defendants may

continue to act unlawfully as set forth in this Complaint.




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       164.    Further, Defendants have acted or refused to act on grounds generally applicable to

the Classes and, accordingly, class certification, injunctive relief, and corresponding declaratory

relief are appropriate on a Class-wide basis.

       165.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

           a. Whether Defendants owed a legal duty to Plaintiff and Class Members to exercise
              due care in obtaining, storing, collecting, maintaining, using, and/or safeguarding
              their Private Information;

           b. Whether Defendants breached a legal duty to Plaintiff and Class Members to
              exercise due care in obtaining, storing, collecting, maintaining, using, and/or
              safeguarding their Private Information;

           c. Whether Defendants failed to comply with their own policies and applicable laws,
              regulations, and industry standards relating to data security;

           d. Whether Defendants adequately and accurately informed Plaintiff and Class
              Members that their Private Information had been compromised;

           e. Whether Defendants failed to implement and maintain reasonable security
              procedures and practices appropriate to the nature and scope of the information
              compromised in the Data Breach;

           f. Whether Defendants’ data security practices related to their MOVEit Application
              prior to and during the Data Breach complied with applicable data security laws
              and regulations;

           g. Whether Defendants’ data security practices related to their MOVEit Application
              prior to and during the Data Breach were consistent with industry standards;

           h. Whether hackers obtained Class Members’ Private Information via the Data
              Breach;

           i. Whether Defendants breached its duty to provide timely and accurate notice of the
              Data Breach to Plaintiff and Class Members; and




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           j. Whether Class Members are entitled to actual, consequential, and/or nominal
              damages, and/or injunctive relief as a result of Defendants’ wrongful conduct.

                                      CAUSES OF ACTION

                                          COUNT I
                                       NEGLIGENCE
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       166.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       167.     Defendants knowingly collected, acquired, stored, and/or maintained Plaintiff’s

and Class Members’ Private Information, and had a duty to exercise reasonable care in

safeguarding, securing, and protecting the Private Information from being disclosed,

compromised, lost, stolen, and misused by unauthorized parties.

       168.     The duty included obligations to take reasonable steps to prevent disclosure of the

Private Information, and to safeguard the information from theft. Defendants’ duties included the

responsibility to design, implement, and monitor data security systems, policies, and processes to

protect against reasonably foreseeable data breaches such as this Data Breach.

       169.     Defendants owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that their systems and networks, policies, and procedures, and the personnel responsible for them,

adequately protected the Private Information.

       170.     These duties owed by Defendants included the obligation to properly review,

assess, and manage the cybersecurity risk posed by third party vendors and service providers.

       171.     Defendants owed a duty of care to safeguard the Private Information due to the

foreseeable risk of a data breach and the severe consequences that would result from their failure

to so safeguard the Private Information.

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          172.   Defendants’ duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendants and those individuals who entrusted them

with their PII, which is recognized by laws and regulations including but not limited the FTC Act,

as well as common law. Defendants were in a position to ensure that their systems were sufficient

to protect against the foreseeable risk of harm to Class Members from a data breach.

          173.   In addition, Defendants had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

          174.   Defendants’ duty to use reasonable care in protecting Private Information arose not

only as a result of the statutes and regulations described above, but also because Defendants are

bound by industry standards to protect Private Information that it either acquires, maintains, or

stores.

          175.   Defendants breached their duties, and thus were negligent, by failing to use

reasonable measures to protect Plaintiff’s and Class Members’ Private Information, as alleged and

discussed above.

          176.   It was foreseeable that Defendants’ failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Plaintiff and Class Members.

Further, the breach of security was reasonably foreseeable given the known high frequency of

cyberattacks and data breaches in the data transfer and storage industry.

          177.   It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.




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       178.    The imposition of a duty of care on Defendants to safeguard the Private Information

they maintained is appropriate because any social utility of Defendants’ conduct is outweighed by

the injuries suffered by Plaintiff and Class Members as a result of the Data Breach.

       179.    As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained actual damages including: (i) invasion of privacy; (ii) financial “out-of-pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (iii) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (iv) financial “out-of-pocket” costs incurred due to actual identity theft; (v) loss of time

incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted marketing

emails; (vii) diminution of value of their Private Information; (viii) future costs of identity theft

monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to their Private

Information, which remains in Defendants’ control, and which is subject to further breaches, so

long as Defendants fail to undertake appropriate and adequate measures to protect Plaintiff’s and

Class Members’ Private Information.

       180.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       181.    Defendants’ negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and unsecure manner.

       182.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to (i) strengthen their data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.



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                                         COUNT II
                           BREACH OF IMPLIED CONTRACT
 (On Behalf of Plaintiff and the Trillium CHP Subclass Against Defendant Trillium CHP)

          183.   Plaintiff and the Trillium Subclass repeat and re-allege each and every allegation

as if fully set forth herein.

          184.   Plaintiff and Subclass Members were required to provide Defendant Trillium CHP

(“Defendant” for purposes of this Count”) with their Private Information.

          185.   By Plaintiff and Subclass Members providing their Private Information, and by

Defendant accepting this Private Information, the parties mutually assented to implied contracts.

These implied contracts included an implicit agreement and understanding that (1) Defendant

would adequately safeguard Plaintiff’s and Subclass Members’ Private Information from

foreseeable threats, (2) that Defendant would delete the information of Plaintiff and Subclass

Members once it no longer had a legitimate need; and (3) that Defendant would provide Plaintiff

and Subclass Members with notice within a reasonable amount of time after suffering a data

breach.

          186.   Defendant provided consideration by providing health benefits in exchange for

Plaintiff’s and Subclass Members’ PII, while Plaintiff and Subclass Members provided

consideration by providing valuable property, their Private Information. Defendant benefitted from

the receipt of this Private Information by being paid by OHP for providing benefits to Plaintiff and

Subclass Members. In exchange for the Private Information, Defendant promised to protect their

PII from unauthorized disclosure.

          187.   Plaintiff and the Subclass fully performed their obligations under the implied

contracts with Defendant.




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       188.    Defendant materially breached its implied contracts with Plaintiff and Subclass

Members when it (1) allowed third parties to access, copy, and exfiltrate Plaintiff and Subclass

Members’ Private Information without permission; and (2) waited an unreasonably long time to

notify them of the Data Breach. It is common sense that Plaintiff and Subclass Members would

not have provided Defendant with their Private Information had they known that Defendant would

not implement basic data security measures or that it would wait several months to notify them of

a data breach involving their Private Information.

       189.    Defendant’s breaches of contract have caused Plaintiff and Subclass Members to

suffer damages from the lost benefit of their bargain, out of pocket monetary losses and expenses,

loss of time, and diminution of the value of their Private Information.

       190.    As a direct and proximate result of Defendant’s breaches of contract, Plaintiff and

Subclass Members have suffered and will suffer injury, including but not limited to: (i) actual

identity theft; (ii) the compromise, publication, and/or theft of their Private Information; (iii)

out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft and/or unauthorized use of their Private Information; (iv) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

and future consequences of the Data Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from identity theft; (v) the continued

risk to their Private Information, which remains in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the Private Information in their continued possession; (vi) future

costs in terms of time, effort, and money that will be expended as result of the Data Breach for




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the remainder of the lives of Plaintiff and Class Members; and (vii) the diminished value of

Defendant’s services they received.

                                         COUNT III
               BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
           (On Behalf of Plaintiff and All Class Members Against Defendant PSC)

       191.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       192.     Upon information and belief, PSC entered into contracts with its government and

corporate customers to provide secure file transfer services to them; services that included data

security practices, procedures, and protocols sufficient to safeguard the Private Information that

was entrusted to it.

       193.     Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their Private Information that Defendants agreed to receive, store, utilize, transfer, and protect

through its services. Thus, the benefit of collection and protection of the Private Information

belonging to Plaintiff and the Class was the direct and primary objective of the contracting parties

and Plaintiff and Class Members were direct and express beneficiaries of such contracts.

       194.     Defendant knew or should have known that if it was to breach these contracts with

its customers, Plaintiff and Class Members would be harmed.

       195.     Defendant breached its contracts with customers by, among other things, failing to

adequately secure Plaintiff and Class Members’ Private Information, and, as a result, Plaintiff and

Class Members were harmed by Defendant’s failure to secure their Private Information.

       196.     As a direct and proximate result of Defendant’s breach, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained incidental and consequential damages including: (i) financial “out-of-pocket” costs



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incurred mitigating the materialized risk and imminent threat of identity theft; (ii) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (iii) financial “out-of-pocket” costs incurred due to actual identity theft; (iv) loss of time

incurred due to actual identity theft; (v) loss of time due to increased spam and targeted marketing

emails; (vi) diminution of value of their Private Information; (vii) future costs of identity theft

monitoring; (viii) and the continued risk to their Private Information, which remains in

Defendant’s control, and which is subject to further breaches, so long as Defendant fails to

undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

Information.

        197.       Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

        198.       Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                         COUNT IV
              BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
       (On Behalf of Plaintiff and the PH Tech Subclass Against Defendant PH Tech)


        199.       Plaintiff and the PH Tech Subclass Class repeat and re-allege each and every

allegation as if fully set forth herein.

        200.       Upon information and belief, PH Tech entered into contracts with its government

and corporate customers to provide beneficiary search services; services that included data security

practices, procedures, and protocols sufficient to safeguard the Private Information that was

entrusted to it.

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        201.    Such contracts were made expressly for the benefit of Plaintiff and the Subclass, as

it was their Private Information that Defendant agreed to receive, store, utilize, transfer, and protect

through its services. Thus, the benefit of collection and protection of the Private Information

belonging to Plaintiff and the Subclass was the direct and primary objective of the contracting

parties and Plaintiff and Subclass Members were direct and express beneficiaries of such contracts.

        202.    Defendant knew or should have known that if it were to breach these contracts with

its customers, Plaintiff and Subclass Members would be harmed.

        203.    Defendant breached its contracts with customers by, among other things, failing to

adequately secure Plaintiff and Subclass Members’ Private Information, and, as a result, Plaintiff

and Subclass Members were harmed by Defendant’s failure to secure their Private Information.

        204.    As a direct and proximate result of Defendant’s breach, Plaintiff and Subclass

Members are at a current and ongoing risk of identity theft, and Plaintiff and Subclass Members

sustained incidental and consequential damages including: (i) financial “out-of-pocket” costs

incurred mitigating the materialized risk and imminent threat of identity theft; (ii) loss of time and

loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

risk; (iii) financial “out-of-pocket” costs incurred due to actual identity theft; (iv) loss of time

incurred due to actual identity theft; (v) loss of time due to increased spam and targeted marketing

emails; (vi) diminution of value of their Private Information; (vii) future costs of identity theft

monitoring; (viii) and the continued risk to their Private Information, which remains in

Defendant’s control, and which is subject to further breaches, so long as Defendant fails to

undertake appropriate and adequate measures to protect Plaintiff’s and Subclass Members’ Private

Information.




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       205.     Plaintiff and Subclass Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       206.     Plaintiff and Subclass Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit monitoring to all Class Members.

                                          COUNT V
                                   NEGLIGENCE PER SE
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       207.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       208.     Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendants had a duty to

provide fair and adequate computer systems and data security practices to safeguard Plaintiff’s and

Class Members’ Private Information.

       209.     Defendants breached their duties to Plaintiff and Class Members under the FTC

Act by failing to provide fair, reasonable, or adequate computer systems and data security practices

to safeguard Plaintiff’s and Class Members’ Private Information.

       210.     Defendants’ failure to comply with applicable laws and regulations constitutes

negligence per se.

       211.     But for Defendants’ wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

       212.     The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendants’ breach of their duties. Defendants knew or should have known

that they were failing to meet their duties, and that Defendants’ breach would cause Plaintiff and



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Class Members to experience the foreseeable harms associated with the exposure of their Private

Information.

        213.    As a direct and proximate result of Defendants’ negligence, Plaintiff and Class

Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

sustained compensatory damages including: (i) invasion of privacy; (ii) financial “out-of-pocket”

costs incurred mitigating the materialized risk and imminent threat of identity theft; (iii) loss of

time and loss of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (iv) financial “out-of-pocket” costs incurred due to actual identity theft; (v) loss

of time incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted

marketing emails; (vii) diminution of value of their Private Information; (viii) future costs of

identity theft monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to their

Private Information, which remains in Defendants’ control, and which is subject to further

breaches, so long as Defendants fail to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

        214.    Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

        215.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.




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                                         COUNT VI
                                  UNJUST ENRICHMENT
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       216.     Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

       217.     Plaintiff and Class Members conferred a monetary benefit on Defendants by

providing Defendants with their valuable Private Information.

       218.     Defendants enriched themselves by saving the costs they reasonably should have

expended on data security measures to secure Plaintiff’s and Class Members’ Private Information,

which cost savings increased the profitability of the services.

       219.     Upon information and belief, instead of providing a reasonable level of security

that would have prevented the Data Breach, Defendants instead calculated to avoid its data security

obligations at the expense of Plaintiff and Class Members by utilizing cheaper, ineffective security

measures. Plaintiff and Class Members, on the other hand, suffered as a direct and proximate result

of Defendants’ failure to provide the requisite security.

       220.     Under the principles of equity and good conscience, Defendants should not be

permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendants failed to implement appropriate data management and security measures that

are mandated by industry standards.

       221.     Defendants acquired the monetary benefit, PII, through inequitable means in that it

failed to disclose the inadequate security practices previously alleged.

       222.     Had Plaintiff and Class Members known that Defendants had not secured their PII,

they would not have agreed to provide their PII to Defendants. Plaintiff and Class Members have

no adequate remedy at law.



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        223.    As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        224.    Furthermore, as a direct and proximate result of Defendants’ unreasonable and

inadequate data security practices, Plaintiff and Class Members are at a current and ongoing risk

of identity theft and have sustained incidental and consequential damages, including: (i) financial

“out-of-pocket” costs incurred mitigating the materialized risk and imminent threat of identity

theft; (ii) loss of time and loss of productivity incurred mitigating the materialized risk and

imminent threat of identity theft risk; (iii) financial “out-of-pocket” costs incurred due to actual

identity theft; (iv) loss of time incurred due to actual identity theft; (v) loss of time due to increased

spam and targeted marketing emails; (vi) diminution of value of their Private Information; (vii)

future costs of identity theft monitoring; and (viii) the continued risk to their Private Information,

which remains in Defendants’ control, and which is subject to further breaches, so long as

Defendants fail to undertake appropriate and adequate measures to protect Plaintiff’s and Class

Members’ Private Information.

        225.    Plaintiff and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

        226.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen their data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.

        227.    Moreover, Defendants should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly received




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from them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiff

and Class Members overpaid for Defendants’ services.

                                          COUNT VII
                       DECLARATORY AND INJUNCTIVE RELIEF
             (On Behalf of Plaintiff and All Class Members Against All Defendants)

          228.   Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

          229.   Plaintiff pursues this claim under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201.

          230.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and granting

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal statutes described in this Complaint.

          231.   An actual controversy has arisen in the wake of the Data Breach regarding

Defendants’ present and prospective common law and other duties to reasonably safeguard

Plaintiff’s and Class Members’ Private Information, and whether Defendants are currently

maintaining data security measures adequate to protect Plaintiff and Class Members from future

data breaches that compromise their Private Information. Plaintiff and the Class remain at

imminent risk that further compromises of their Private Information will occur in the future.

          232.   The Court should also issue prospective injunctive relief requiring Defendants to

employ adequate security practices consistent with law and industry standards to protect Plaintiff’s

and Class Members’ Private Information.

          233.   Defendants still control the Private Information of Plaintiff and the Class Members.




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       234.    To Plaintiff’s knowledge, Defendants have made no announcement that they have

changed their data or security practices relating to the Private Information.

       235.    To Plaintiff’s knowledge, Defendants have made no announcement or notification

that they have remedied the vulnerabilities and negligent data security practices that led to the Data

Breach.

       236.    If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

and lack an adequate legal remedy in the event of another data breach at PSC. The risk of another

such breach is real, immediate, and substantial.

       237.    As described above, actual harm has arisen in the wake of the Data Breach

regarding Defendants’ contractual obligations and duties of care to provide security measures to

Plaintiff and Class Members. Further, Plaintiff and Class Members are at risk of additional or

further harm due to the exposure of their Private Information and Defendants’ failure to address

the security failings that led to such exposure.

       238.    There is no reason to believe that Defendants’ employee training and security

measures are any more adequate now than they were before the breach to meet Defendants’

contractual obligations and legal duties.

       239.    The hardship to Plaintiff and Class Members if an injunction does not issue exceeds

the hardship to Defendants if an injunction is issued. Among other things, if another data breach

occurs at PSC, Plaintiff and Class Members will likely continue to be subjected to fraud, identify

theft, and other harms described herein. On the other hand, the cost to Defendants of complying

with an injunction by employing reasonable prospective data security measures is relatively

minimal, and Defendants has a pre-existing legal obligation to employ such measures.




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       240.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing another data breach at PSC,

thus eliminating the additional injuries that would result to Plaintiff and Class.

       241.    Plaintiff and Class Members seek a declaration (i) that Defendants’ existing data

security measures do not comply with their contractual obligations and duties of care to provide

adequate data security; and (ii) that to comply with their contractual obligations and duties of care,

Defendants must implement and maintain reasonable security measures, including, but not limited

to, the following:

         a. engage internal security personnel to conduct testing, including audits on Defendants’
            systems, on a periodic basis, and promptly correct any problems or issues detected
            by such third-party security auditors;

         b. engage third-party security auditors and internal personnel to run automated security
            monitoring;

         c. audit, test, and train its security personnel and employees regarding any new or
            modified data security policies and procedures;

         d. purge, delete, and destroy, in a reasonably secure manner, any Private Information
            not necessary for its provision of services;

         e. conduct regular database scanning and security checks; and

         f. routinely and continually conduct internal training and education to inform internal
            security personnel and employees how to safely share and maintain highly sensitive
            personal information, including but not limited to, PII.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendants and that the Court grant the following:

       A.      For an Order certifying the Class, and appointing Plaintiff and their Counsel to

               represent the Class;



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     B.     For equitable relief enjoining Defendants from engaging in the wrongful conduct

            complained of herein pertaining to the misuse and/or disclosure of the PII of

            Plaintiff and Class Members, and from refusing to issue prompt, complete, any

            accurate disclosures to Plaintiff and Class Members;

     C.     For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

            and other equitable relief as is necessary to protect the interests of Plaintiff and

            Class Members, including but not limited to an order:

            i.   prohibiting Defendants from engaging in the wrongful and unlawful acts

                 described herein;

           ii.   requiring Defendants to protect, including through encryption, all data collected

                 through the course of their business in accordance with all applicable

                 regulations, industry standards, and federal, state or local laws;

          iii.   requiring Defendants to delete, destroy, and purge the personal identifying

                 information of Plaintiff and Class Members unless Defendants can provide to

                 the Court reasonable justification for the retention and use of such information

                 when weighed against the privacy interests of Plaintiff and Class Members;

          iv.    requiring Defendants to implement and maintain a comprehensive Information

                 Security Program designed to protect the confidentiality and integrity of the PII

                 of Plaintiff and Class Members;

           v.    requiring   Defendants     to    engage    independent     third-party   security

                 auditors/penetration testers as well as internal security personnel to conduct

                 testing, including simulated attacks, penetration tests, and audits on




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                Defendants’ systems on a periodic basis, and ordering Defendants to promptly

                correct any problems or issues detected by such third-party security auditors;

         vi.    requiring Defendants to engage independent third-party security auditors and

                internal personnel to run automated security monitoring;

         vii.   requiring Defendants to audit, test, and train their security personnel regarding

                any new or modified procedures;

        viii.   requiring Defendants to segment data by, among other things, creating firewalls

                and access controls so that if one area of Defendants’ network is compromised,

                hackers cannot gain access to other portions of Defendants’ systems;

         ix.    requiring Defendants to conduct regular database scanning and securing

                checks;

          x.    requiring Defendants to establish an information security training program that

                includes at least annual information security training for all employees, with

                additional training to be provided as appropriate based upon the employees’

                respective responsibilities with handling personal identifying information, as

                well as protecting the personal identifying information of Plaintiff and Class

                Members;

         xi.    requiring Defendants to routinely and continually conduct internal training and

                education, and on an annual basis to inform internal security personnel how to

                identify and contain a breach when it occurs and what to do in response to a

                breach;

         xii.   requiring Defendants to implement a system of tests to assess their respective

                employees’ knowledge of the education programs discussed in the preceding



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                  subparagraphs, as well as randomly and periodically testing employees

                  compliance with Defendants’ policies, programs, and systems for protecting

                  personal identifying information;

          xiii.   requiring Defendants to implement, maintain, regularly review, and revise as

                  necessary a threat management program designed to appropriately monitor

                  Defendants’ information networks for threats, both internal and external, and

                  assess whether monitoring tools are appropriately configured, tested, and

                  updated;

          xiv.    requiring Defendants to meaningfully educate all Class Members about the

                  threats that they face as a result of the loss of their confidential personal

                  identifying information to third parties, as well as the steps affected individuals

                  must take to protect themselves;

           xv.    requiring Defendants to implement logging and monitoring programs sufficient

                  to track traffic to and from Defendants’ servers; and for a period of 10 years,

                  appointing a qualified and independent third party assessor to conduct a SOC 2

                  Type 2 attestation on an annual basis to evaluate Defendants’ compliance with

                  the terms of the Court’s final judgment, to provide such report to the Court and

                  to counsel for the class, and to report any deficiencies with compliance of the

                  Court’s final judgment;

     D.      For an award of damages, including, but not limited to, actual, consequential, and

             nominal damages, as allowed by law in an amount to be determined;

     E.      For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

     F.      For prejudgment interest on all amounts awarded; and



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      G.     Such other and further relief as this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff hereby demands that this matter be tried before a jury.



Date: August 28, 2023                       Respectfully Submitted,

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